                        MEMORANDUM CASES.
In so far as they relate to the only question to be here decided, the facts in this case are similar in all respects to the facts in the case of P.A. Heinfelt and M.G. Hoffman,Copartners, Doing Business Under the Fictitious Firm Name andStyle of National Realty Company v. Fred Arth, Civil No. 1430 (ante, p. 445 [27 P.2d 420]), this day decided, and the question of law presented is identical with the question decided in that case. [1] Upon authority of the case referred to and for the reasons there given, the judgment here appealed from is reversed.
Marks, J., and Jennings, J., concurred.
A petition by respondents to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on January 22, 1934. *Page 790 